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Cheisty ‘A. Stanley
8:20-cr-48-T-35TGW:
RECEIVED: |
U.S.MAR SHA. UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
Q00CT 15 |PM 682 TAMPA DIVISION
LORDS
UNITEDSWETER GR AM RICA Case Number: 8:20-cr-48-T-35TGW
Vv. USM Number: 73555-018
CHRISTY A. STANLEY Alec Fitzgerald Hall, FPD

 

JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Count One of the Information. Defendant is adjudicated guilty of these
offenses: |

Date Offense Count

Title & Section Nature of Offense Concluded Number
18 U.S.C. § 1343 Wire Fraud In October 2018 One

Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days:
of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, Defendant shall
notify the Court and United States Attorney of any material change in Defendant’s economic

circumstances.

Date of Imposition of Judgment:

October 1, 2020

 

 

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MARY\S_S: >

UNITED HATES DISTRICT JUDGE

October 14, 2020 ge

| CERTIFY THE FOREGOING TO BE A TRUE
AND CORRECT COPY OF THE ORIGINAL
CLERK-OF COURT
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

., Lourdes Det Rio

AO 245B (Rev. 09/19) Judgment in a Criminal Case

 
Case 8:20-cr-

Christy A. Stanley
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Defendant is
imprisoned for a ter’

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Program
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Health Counseling.

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|
IMPRISONMENT

hereby committed to the custody of the United States Bureau of Prisons to be
m of THIRTY (30) MONTHS.

akes the following recommendations to the Bureau of Prisons:

ent at FCI Coleman or FCI Tallahassee
| Training Opportunities

Defendant shall surrender for service of sentence at the institution designated by the Bureau of

Prisons not before

| have executed th

March 1, 2021 as notified by the United States Marshal.

RETURN

is judgment as follows:

 

 

 

 

VS

 

Defendant en on

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AO 245B (Rev. 09/19) Ju

 

S-3-YU to ELC Aldasen

, with a certified copy of this judgment.

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By:

dgment in a Criminal Case
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SUPERVISED RELEASE

Upon release from imprisonment, Defendant will be on supervised release for a term of THREE
(3) YEARS.

MANDATORY CONDITIONS

Defendant shall not commit another federal, state or local crime.

Defendant shall not unlawfully possess a controlled substance.

Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic

drug tests thereafter, as determined by the court.

oONn>

4. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

5. Defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any
other statute authorizing a sentence of restitution.

Defendant shall comply with the standard conditions that have been adopted by this court (set
forth below).

Defendant shall also comply with the additional conditions on the attached page.

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As part of your supervis
conditions are imposed
the minimum tools need
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Defendant shall
72 hours of you
Probation Office
receive instructi
Probation Office
After initially rep
about how and

STANDARD CONDITIONS OF SUPERVISION

ed release, Defendant shall comply with the following standard conditions of supervision. These
because they establish the basic expectations for your behavior while on supervision and identify
ed by Probation Officers to keep informed, report to the court about, and bring about improvements
dition.

report to the Probation Office in the federal judicial district where you are authorized to reside within
lr release from imprisonment, unless the Probation Officer instructs you to report to a different
L or within a different time frame. After initially reporting to the Probation Office, Defendant will
ons from the court or the Probation Officer about how and when Defendant must report to the
r, and Defendant must report to the Probation Officer as instructed.

orting to the Probation Office, you will receive instructions from the court or the Probation Officer
when Defendant shall report to the Probation Officer, and Defendant shall report to the Probation

Officer as instructed.

Defendant shall not knowingly leave the federal judicial district where you are authorized to reside without first
getting permission from the court or the Probation Officer.

Defendant shall'answer truthfully the questions asked by your Probation Officer

Defendant shallilive at a place approved by the Probation Officer. If you plan to change where you live or anything
about your living arrangements (such as the people you live with), Defendant shall notify the Probation Officer at
least 10 days before the change. If notifying the Probation Officer in advance is not possible due to unanticipated
circumstances, Defendant shall notify the Probation Officer within 72 hours of becoming aware of a change or
expected change.

Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and Defendant shall
permit the Probation Officer to take any items prohibited by the conditions of your supervision that he or she
observes in plain view.

Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the Probation
Officer excuses|you from doing so. !f you do not have full-time employment Defendant shall try to find full-time
employment, unless the Probation Officer excuses you from doing so. If you plan to change where you work or
anything about your work (such as your position or your job responsibilities), Defendant shall notify the Probation
Officer at least 10 days before the change. If notifying the Probation Officer at least 10 days in advance is not
possible due to unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
becoming aware of a change or expected change.

Defendant shalllnot communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, Defendant shall not knowingly communicate or interact with that person
without first getting the permission of the Probation Officer.

If you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation Officer within
72 hours.

Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous
weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death
to another person such as nunchakus or tasers).

Defendant shalll not act or make any agreement with a law enforcement agency to act as a confidential human
source or informant without first getting the permission of the court.

If the Probation Officer determines that you pose a risk to another person (including an organization), the Probation
Officer may require you to notify the person about the risk and Defendant shall comply with that instruction. The
Probation Officer may contact the person and confirm that you have notified the person about the risk.

Defendant shalllfollow the instructions of the Probation Officer related to the conditions of supervision.

 

U.S. Probation Office Use Only

A U.S. Probation Officer|has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts. gov.

Defendant's Signature:

Date:

 

 

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. Defendant shall participate in a mental health treatment program (outpatient and/or inpatient)
and follow the Probation Officer’s instructions regarding the implementation of this court
directive. Further, Defendant shall contribute to the costs of these services not to exceed an

amount dete

fmined reasonable by the Probation Office’s Sliding Scale for Mental Health

Treatment Services.

2. Defendant shall be prohibited from incurring new credit charges, opening additional lines of
credit, or making an obligation for any major purchases ($1,000 or more) without approval of the

Probation O

 

icer. The defendant shall provide the Probation Officer access to any requested

financial information.

3. The Court orders Defendant to submit to random drug testing not to exceed 104 tests per year.
Defendant shall refrain from any unlawful use of a controlled substance.

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CRIMINAL MONETARY PENALTIES

Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth|in the Schedule of Payments.

Assessment Restitution Fine AVAA JVTA Assessment**

Assessment*
$1 00.00 501,131.30 WAIVED N/A N/A

|

   
 
 

Defendant must make restitution (including community restitution) to the following payees in the
amount listed below.

If Defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below.
However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid in full prior to the United
States receiving payment.

Name of Payee Restitution Ordered
First Title Source, LLC $501,131.30
1267 Court Street

Clearwater, FL 33756

Payable To:
Clerk of U.S. District Court
801 N. Florida Avenue

Tampa, FL 33756
(For distribution to victims)

In the event that Old Republic and Lloyds of London, the Insurers for the victim, provide

payment on any insurable amount that is the subject of this prosecution and the related

Restitution amount! the Defendant’s payments will then be directed to the insurer(s) pro rata.
SCHEDULE OF PAYMENTS

Having assessed Defendant's ability to pay, payment of the total criminal monetary penalties is due as
follows:

Special Assessment shall be paid in full and is due immediately.

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Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court,
unless otherwise directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed. .

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA
assessment, and (9) penalties, and (10) costs, including cost of prosecution and court costs.

Joint and Several

Restitution shall be paid jointly and severally with Onoriode Frank Nani (1) in Case No. 8:19-CR-77-T-
35JSS should he aver be arrested and either plead guilty to the charges or be convicted of them.

 

AO 245B (Rev. 09/19) Judgment in a Criminal Case

 
